     Case 2:19-cv-03934-PSG-JPR Document 107 Filed 04/27/21 Page 1 of 1 Page ID #:4815

 Name Richard S. Busch, Brittney R. Dobbins, KING & BALLOW
 Address 1999 Avenue of the Stars, Suite 1100
 City, State, Zip Century City, CA 90067
 Phone (424) 253-1255
 Fax (888) 688-0482
 E-Mail rbusch@kingballow.com, bdobbins@kingballow.com
 G FPD        G Appointed    G CJA      G Pro Per    G✘Retained

                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
ARTEM STOLIAROV p/k/a ARTY                                              CASE NUMBER:

                                                                                                2:19-cv-393 PSG (JPRx)
                                                    PLAINTIFF(S),
                                  v.
MARSHMELLO CREATIVE, LLC, et al.
                                                                                          NOTICE OF APPEAL
                                                 DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                              ARTEM STOLIAROV p/k/a ARTY                              hereby appeals to
                                                                  Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                        Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                              ✘ Order (specify):
                                                                        G
 G Conviction and Sentence                                                  Doc. Nos. 104, 105, 106
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                       ✘ Judgment (specify):
                                                                        G
 G Interlocutory Appeals                                                    Doc. Nos. 104, 105, 106
 G Sentence imposed:
                                                                        G Other (specify):

 G Bail status:



Imposed or Filed on April 7 & April 8, 2021 . Entered on the docket in this action on April 7 & April 8, 2021                                .

A copy of said judgment or order is attached hereto.


4/27/2021                                               /s/ Richard S. Busch
Date                                                    Signature
                                                        G Appellant/ProSe           ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                 NOTICE OF APPEAL
